
OPINION.
SteRnhagen :
The petitioner’s decedent in 1920 paid a California inheritance tax of $14,237.80 in respect of a bequest from his mother of a life estate in certain corporate stock. The amount was not paid by or for his mother’s estate and no deduction therefor was claimed by his estate. Petitioner’s decedent made no deduction thereof on his income-tax return for 1920. Claim for refund has since been made, founded upon the deduction of such payment. The Commissioner refuses to allow the deduction and has determined a deficiency of $626.54. By virtue of the Revenue Act of 1928, section 703, the deduction is allowable.
Petitioner is entitled to have the income tax for 1920 recomputed by the allowance as a deduction of $14,237.80 and the resulting deficiency or overpayment determined accordingly.

J udgment will be entered wider Bule 50.

